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LANCE McCOY pie * _IN THE
3120 St. Paul Street, #H418 ae
Baltimore, MD 21218 e CIRCUIT COURT
Plaintiff, e FOR
Vv. BALTIMORE CITY

FREDDIE HENDRICKS TRACK CLUB, :
AN AFFILIATE ORGANIZATION OF

case no. PU CIZODOY RSR

THE AMATEUR ATHLETIC UNION *

Serve on: William Vaughn —

5721 Arnhem Road 25

Baltimore, MD 21218 ; .
Defendant. s

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COMPLAINT AND DEMAND FOR Sear can ee ;

 

as follows:

 

ls Plaintiff McCoy is a resident of Baltimore City, Matyland.

2. Defendant FHTC is an organization “thats WAS! doing business i in

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Baltimore, Maryland at all times relevant to this Complaint. at Wicd

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3. On or about August 2005 to May 2008, McGey was.ajmember of

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Mergenthaler Cross Country Team in Baltimore Gity/‘Maryland. His dates oft
birth is October 2, 1991, and thus was a minor during his participation with

the FHTC. an

 

 
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4. The FHTC was a member and sanctioned by the Amateur Athletic
Union (AAU), thus the AAU provides liability coverage for the Freddie Hendricks
Track Club, which includes but is not limited to sexual assault /misconduct.

5. At all relevant times herein, McCoy was a minor and did not reach
adult status until October 2, 2009, his eighteenth (18t*) birthday.

6. ‘Bryant Newmuis (hereinafter “Newmuis”) was hired as a track

coach for FHTC by the head coach, Garfield Thompson.

7. Newmuis was responsible for training, coaching, supervising and
chaperoning McCoy.
8. As such, Newmuis engaged in activities sponsored by the FHTC

organization at all relevant times with full authority as its agent, servant or
employee.

9. McCoy and Newmuis met during his sophomore year at
Mergenthaler High School when he was approximately fifteen (15) years old.
Newmuis was a computer science teacher and coach for the track team.

10. Newmuis was responsible for transporting McCoy to and from
practices and track meets under Mr. Thompson’s full knowledge and authority.

11. Newmuis gained the minor’s trust throughout his role as coach
and mentor.

12. Newmuis, using the authority given to him by Garfield Thompson
on behalf of the FHTC, began taking McCoy to his home where he sexually

assaulted McCoy.
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13. Moreover, during trips sanctioned by the AAU in which FHTC was
a member and participated in Newmuis would use that opportunity to stay in
separate facilities away from the rest of the team, with Mr. Thompson’s full
knowledge and authority.

14. Newmuis used those moments to sexually assault McCoy.

15. Atall times that McCoy was sexually assaulted by Newmuis,
Newmuis was acting within the scope of his duties as the coach and supervisor
of McCoy.

16. Furthermore, Newmuis used his authority to massage and relieve
McCoy’s injuries for his own sexual gratification.

17. Newmuis was found guilty of sex abuse on a minor.

COUNT ONE
(Respondeat Superior)

18. Plaintiff McCoy adopts by reference the allegations contained in
paragraphs one through seventeen (1-17) of this Complaint as if fully set forth
herein.

19. Atall times relevant hereto, Newmuis was employed as the coach
by Garfield Thompson and the FHTC, with primary responsibility to McCoy.

20. On several occasions while in his capacity as coach, trainer,
supervisor and chaperone of McCoy, Newmuis sexually assaulted McCoy.

21. Allof the acts were committed within the scope of his
employment/duty as a coach for Defendant and in furtherance of the
Defendant’s interest.

22. As Newmuis’ employer, FHTC is responsible for all of the acts

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committed by Newmuis within the scope of his employment.

WHEREFORE, Plaintiff demands judgment against the Defendant for
compensatory damages in the amount of One Million Dollars ($1,000,000.00)
with interest and costs.

COUNT TWO
(Assault)

23. Plaintiff McCoy adopts by reference the allegations contained in
paragraphs one through twenty-two (1-22) of this Complaint as if fully set forth
herein.

24. Newmuis seduced McCoy for his own sexual gratification. Said
conduct was characterized by evil motive with the intent to injure, ill will and
actual malice.

25. Newmuis acted with the intent and capability to do bodily harm to
McCoy. His conduct was perpetrated with actual malice.

26. Newmuis’ actions caused McCoy to be put in reasonable
apprehension of an immediate battery.

27. Asaresult of Newmuis’ conduct and actions, McCoy has suffered
and will continue to suffer server mental anguish, medical and other related
expenses.

28. During the summer of 2006-07 when McCoy was preparing for an
AAU activity Newmuis showed pornography to McCoy and used KY Lubricant
while he manipulated McCoy’s penis in his hand for sexual gratification.

Thereafter he engaged in sexual contact with McCoy.
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WHEREFORE, Plaintiff McCoy demands judgment against Newmuis and
FHTC, an organization of the Amateur Athletic Union for the sum of One
Hundred Fifty Thousand Dollars ($150,000.00) in compensatory damages and
One Million Five Hundred Thousand Dollars ($1,500,000.00) in punitive
damages, with interest and costs.

COUNT THREE
(Battery)

30. Plaintiff McCoy adopts by reference the allegations contained in
paragraphs one through twenty-nine (1-29) of this Complaint with the same
effect as if herein fully set forth.

31. Defendant Newmuis intended the sexual conduct he exhibited and
could only accomplish it as a member, servant, and agent of Defendant AAU.

32. Defendant Newmuis’ conduct constituted an intentional touching
which resulted in the offensive, non-consensual battery of Plaintiff McCoy by
Defendant Newmuis and was undertaken deliberately and with actual malice.

33. Asaresult of Defendant Newmuis’ conduct, Plaintiff McCoy,
suffered substantial damages including but not limited to extreme and
permanent pain and suffering, humiliation, mental distress, bad dreams and
monetary loses.

WHEREFORE, Plaintiff McCoy demands judgment against Defendants
individually for the sum of One Hundred Thousand Dollars ($100,000.00)
compensatory damages and Four Hundred Thousand Dollars ($400,000.00)

punitive damages, with interest and costs.
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COUNT FOUR
(False Imprisonment)

34. Plaintiff McCoy adopts by reference the allegations contained in
paragraphs one through thirty-three (1-33) of this Complaint with the same
effect as if herein fully set forth.

35. Atall relevant times Defendant Newmuis transported Plaintiff
McCoy to his home well outside of McCoy’s abode for the purposes of detaining
him and having nonconsensual sexual relations with him.

36. McCoy was detained against his will for at least several hours.

37. Asaresult of the actions of Newmuis, Plaintiff McCoy suffered
damages by being held against his will for an extended period of time.

38. By all of his behavior, Newmuis actions towards McCoy
demonstrated actual malice.

WHEREFORE, Plaintiff McCoy demands judgment against defendants
Newmuis and AAU individually in the amount of Fifty Thousand Dollars
($50,000.00) in compensatory damages and Two Hundred Fifty Thousand
Dollars ($250,000.00) in punitive damages, with interest and costs.

COUNT FIVE
(Intentional Infliction of Emotional Distress “ITED”)

39. Plaintiff McCoy adopts by reference the allegations contained in
paragraphs one through thirty-eight (1-38) of this Complaint with the same
effect as if herein fully set forth.

40. During the time Plaintiff was engaged in FHTC activities,

sanctioned by the AAU, and coached by Newmuis, he was sexually assaulted
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and battered by and, among other things, forced to submit to manual
stimulation of his genitalia and by being forced to engage in other perverted
practices. This conduct was perpetrated by the agent, servants and employees
of Defendant AAU within the scope of his employment. Defendant FHTC is
responsible for all of the acts committed by its agent within the scope of his
employment and/or participation in its programs and purposes.

41. Defendant’s conduct was intentional, reckless and in deliberate
disregard of a high degree of probability that emotional distress would result to
the then-minor Plaintiff.

42. The conduct of Newmuis and the defendants was extreme and
outrageous and beyond the bounds of decency in society.

43. The conduct of the Defendants was malicious, willful and
intentional.

44. Asaresult of the aforementioned conduct and actions, the Plaintiff
has suffered and will continue to suffer severe and extreme emotional distress.

WHEREFORE, Plaintiff demands judgment against each defendant for
compensatory damages in the amount of One Million Dollars ($1,000,000.00)

and punitive damages in the amount of Four Million Dollars ($4,000,000.00),

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(410) 366-0494 — (410) 366-0580

Attorneys for Plaintiff

plus interest and costs of this action.
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LANCE McCOY * IN THE

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Serve on: William Vaughn
5721 Arnhem Road 24 C\2 O O ASS
Baltimore, MD 21218 *

Defendant. *

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DEMAND FOR JURY TRIAL

 

Mr./Ms. Clerk:

Set this case on the consolidated trial calendar for jury trial.

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